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UNITED STATES DISTRICT COURT                                           ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK
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MICHAEL COHEN,                                                         DATE FILED: G 3 / t ~/t
                                   Plaintiff.
                                                                     18-MJ-3161 (KMW)
                 V.
                                                                           ORDER
UNITED STATES OF AMERICA,

                                   Defendant.
--------------------------------------------------------X
KIMBA M. WOOD, United States District Judge:

        As set forth in the Special Master Report dated May 4, 2018 (ECF No. 39), the Plaintiff

and Intervenors will be responsible for payment of fifty percent of the Special Master's

compensation and expenses and the Government will be responsible for payment of fifty percent

of the Special Master's compensation and expenses.          As set forth in the Special Master Report

dated May 11, 2018 (ECF No. 45), the parties have agreed to an hourly rate and the Special

Master will submit invoices for the Court's review and approval monthly.

        Furthermore, the Special Master will submit to the Parties draft itemized statements on a

monthly basis.        The Parties shall have a three day period in which to review and comment on

the draft itemized statement, at which time the Special Master shall submit a final itemized

statement to the Court.       If the Court determines the itemized statement is regular and reasonable,

the Court will sign it and transmit it to the parties and such transmittal shall constitute a direction

to the Parties to pay the amount set forth in the itemized statement.     The Parties shall then remit

to the Special Master the Court-approved amounts in the regular manner in which it pays bills,
but not later than 30 calendar days following Court approval.

       SO ORDERED.

Dated: New York, New York
       June 13, 2018
                                                               KIMBA M. WOOD
                                                            United States District Judge




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